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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

y Case No. 23-cr-239 (CKK)

ILYA LICHTENSTEN, et al.,

Defendants.

Proposed] ORDER

Upon consideration of the Motion to Intervene submitted on February 19, 2025 (ECF No.
___) by interested third-party Charles Reed Venturella (‘Movant’), it is hereby:

ORDERED that Movant’s Motion to Intervene is GRANTED for purposes of allowing
Movant to intervene as a third party, to submit a verified ancillary petition, to object to the
Government’s Supplemental Memorandum Regarding Restitution, and to otherwise participate

in this case to protect Movant’s interests.

COLLEEN KOLLAR-KOTELLY
UNITED STATES DISTRICT JUDGE
